                                 Case 18-17015-SMG                    Doc        Filed 08/20/19               Page 1 of 5
  Fill in this information to identify the case:

  Debtor 1: Jairo E Leal

  United States Bankruptcy Court for the: Southern District of Florida (Fort Lauderdale)

  Case number: 18-17015-RBR

  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                           12/15
  If the debtor’s plan provides for payment and postpetition contractual installments on your claim secured by a security interest in the
  debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
  as a supplemental to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

  Name of creditor:      Deutsche Bank National Trust Company, as                Court claim no.: 2-1
                         Trustee, on behalf of the holders of the J.P.
                         Morgan Mortgage Acquisition Trust 2007-CH1
                         Asset Backed Pass-Through Certificates,
                         Series 2007-CH1

 Last four digits of any number                                                   Date of payment change:
 you use to identify the debtor’s         7009                                    Must be at least 21 days after date of
                                                                                                                                 10/01/2019
 account:                                                                         this notice


                                                                                  New total payment:                           $1,755.63**
                                                                                  Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
    Will there be a change in the debtor’s escrow account payment?

    ☑ No
    ☐ Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
               basis for the change. If a statement is not attached, explain why:

             Current escrow payment:      $                               New escrow payment:         $


  Part 2: Mortgage Payment Adjustment
    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?

    ☐ No
    ☑ Yes     Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

              Current interest rate:          3.00                          %         New interest rate:           4.00              %

              Current principal and interest payment: $ 897.73                  New principal and interest payment: $ 1,029.68

  Part 3: Other Payment Change
    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

    ☑ No
    ☐ Yes Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect.)

              Reason for change:

              Current mortgage payment: $                                         New mortgage payment: $




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          Debtor 1: Jairo E Leal                                                               Case number: 18-17015-RBR

Part 4: Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box.

        I am the creditor.          X       I am the creditor’s authorized agent.
(Attach copy of power of attorney, if any.)


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and
reasonable belief.


        /s/ Scott C. Lewis, Esq.                                                                  Date    08/20/2019
        Signature

                         Scott                   C.                Lewis
Print                    First Name              Middle Name       Last Name                      Title Attorney For Secured Creditor


Company                 Albertelli Law

Address                 P.O. Box 23028
                        Number        Street

                        Tampa                    FL                  33623
                        City                     State                Zip Code

Contact Phone: 813-221-4743              Email: bkfl@albertellilaw.com



**Disclaimer: Please note the payment amount of $3294.57 referenced in the correspondence attached to this Notice of
Mortgage Payment Change includes an estimated escrow payment available at the time the ARM letter was generated.
However, the debtor’s new, ongoing post-petition payment is $1755.63 as set forth herein.




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document to be served
upon the following parties of interest either via pre-paid regular US Mail or via electronic
notification to the parties on the attached service list, this 20th day of August, 2019.



SERVICE LIST

Jairo E Leal
19332 NW 11 St
Hollywood, FL 33029

Ricardo Corona, Esq.
3899 NW 7 St, Second Floor
Miami, FL 33126

Robin R Weiner
www.ch13weiner.com
POB 559007
Fort Lauderdale, FL 33355

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
                                                               /s/ Scott C. Lewis, Esq.
                                                               Scott C. Lewis, Esq.
                                                               FBN 112064
                                                               813-221-4743 ext. 2603

                                                               Albertelli Law
                                                               Attorney for Secured Creditor
                                                               PO Box 23028
                                                               Tampa, FL 33623
                                                               Facsimile: (813) 221-9171
                                                               bkfl@albertellilaw.com




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       1. The monthly payment includes an escrow amount for property taxes, hazard insurance and other escrowed
          expenses (if applicable), which, if they increase, may also increase the monthly payment.
       2. The total monthly payment (C.) is calculated by adding (A.) principal and interest and (B.) escrow.
       3. The interest rate(s) listed will be the interest rate(s) for the remaining term of the mortgage.

Please note that if you are currently set up on our automatic withdrawal program (ACH), the monthly ACH payment
will change to match the amount provided in this notice. This change will be made as of the first scheduled automatic
payment after the date this payment change is effective.

Mortgage Assistance
If you have any questions, your assigned Relationship Manager, Juan Granados, can be reached toll free at
800-258-8602 Ext. 37360 or by email at Relationship.Manager@SPServicing.com.

At SPS, any of our trained servicing representatives can assist you with answers to your questions about the status or
history of your account, or any of our available loan resolution options. If you have any questions or concerns, please
contact our Customer Service Department toll-free at 800-258-8602 for more information. Representatives are
available Monday through Thursday between the hours of 8 a.m. and 11 p.m., Friday from 8 a.m. to 9 p.m., and
Saturday from 8 a.m. to 2 p.m., Eastern Time.

If you would like to speak with a HUD approved housing counselor, you may call the Homeowner’s HOPE™ Hotline
888-995-HOPE (4673) or visit HUD’s website at https://apps.hud.gov/offices/hsg/sfh/hcc/fc/ to find an available
counseling agency. The Homeowner’s HOPE™ Hotline offers free HUD-certified counseling services and is available
24/7 in English and Spanish. Other languages are available by appointment.

Sincerely,

Select Portfolio Servicing, Inc.

   Esta carta contiene información importante concerniente a sus derechos. Por favor, traduzca esta carta.
  Nuestros representantes bilingües están a su disposición para contestar cualquier pregunta. Llamenos al
                            numero 800-831-0118 y seleccione/marque la opción 2.

                      This information is intended for informational purposes only and is not
                                     considered an attempt to collect a debt.




  AW995 2109
